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 3
                                UNITED STATES DISTRICT COURT
 4
                                      DISTRICT OF ARIZONA
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                                                       Case No. 2:16-cv-02696-SRB
 7
                                                        FINAL JUDGMENT
 8       In re Banner Health Data Breach
         Litigation
 9
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12            Based upon and subject to the class-wide settlement approved by the Court in this

13   Action and the Final Approval Order,

14            IT IS HEREBY ORDERED AND ADJUDGED that:

15            1.     The Court has personal jurisdiction over the Parties and the Settlement Class

16   members,1 subject matter jurisdiction over the claims in the Action, and jurisdiction to

17   approve the Settlement.

18            2.     The certified Class subject to and bound by this Final Judgment includes the

19   following persons:

20                   All persons who were notified by Banner that their personal
21                   information may have been compromised as a result of the
                     Security Incident.
22
23   Excluded from the Settlement Class are the officers and directors of Banner during the

24   Class Period, the Judge presiding over this action and her Honor’s courtroom staff, and

25   those entities that timely and validly request exclusion from the Settlement Class.

26   1
      Unless otherwise defined herein, all terms capitalized herein shall have the same meaning
27   ascribed to those terms in the Settlement.
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 1          3.     Venue is proper in this Action.
 2          4.     This Action (including all individual claims and Settlement Class claims
 3   presented thereby) is dismissed, with prejudice on the merits, without fees or costs to any
 4   party except as provided in the Settlement and the Court’s Order awarding Class Counsel
 5   Attorneys’ Fees, Class Counsel Expenses, and Service Awards.
 6          5.     The Releases set forth in the Settlement, including those described in Section
 7   V of the Settlement Agreement, are incorporated herein, and—as of the Effective Date and
 8   by operation of this Final Judgment—are binding and effective on all Settlement Class
 9   members who have not properly excluded themselves from the Settlement Class.
10          6.     All Settlement Class members are permanently enjoined from filing,
11   prosecuting, maintaining or continuing litigation based on or related to the claims or facts
12   alleged in the Action in accordance with Section V of the Settlement Agreement.
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14                 Dated this 21st day of April, 2020.
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